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                  EXHIBIT A
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                         DECLARATION OF CARROLL RHODES

       I, Carroll Rhodes, hereby submit this declaration pursuant to 28 U.S.C. § 1746 and

declare as follows:

       1.      I am counsel in NAACP v. Reeves, 23-cv-00272-HTW-LGI, which is currently

before this Court.

       2.      On May 11, 2023, I spoke with Ned Nelson, counsel for Defendant Randolph. Mr.

Nelson could not provide assurances that Defendant Randolph would continue to abide by the

preliminary injunction that the court in Saunders v. Randolph, No. 23-cv-00421, entered on

Thursday, May 4 following the court’s decision earlier today to dismiss Defendant Randolph from

that case. The preliminary injunction in Saunders “temporarily stays” H.B. 1020 until “a ruling is

issued [by the court] or until May 14, 2023 at 5:00 p.m., whichever shall occur first.”

       3.      Further, Mr. Nelson could not provide any assurances that, should the court in

Saunders lift its injunction or allow that injunction to expire at 5:00 p.m. this Sunday, Defendant

Randolph would give this Court an opportunity to rule on the merits of Plaintiffs’ Temporary

Restraining Order before making the judicial appointments H.B. 1020 commands him to make.



I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED

STATES OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT.

Executed this 11th day of May, 2023.
                                                                                 /s/ Carroll Rhodes

                                                                                    Carroll Rhodes
